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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                8:11CR401
                       Plaintiff,             )
                                              )
       vs.                                    )                  ORDER
                                              )
AGAPITO AGUILAR- SOSTENES and                 )
TRAVIS R. CHISHOLM,                           )
                                              )
                       Defendants.            )
       This matter is before the court on the motion to continue by defendant Travis R.
Chisholm (Chisholm) (Filing No. 32). Chisholm seeks a continuance of the trial of this
matter which is scheduled for February 21, 2012. Chisholm has filed an affidavit wherein
Chisholm represents that he consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing
No. 33). Chisholm’s counsel represents that government’s counsel has no objection to the
motion. Upon consideration, the motion will be granted as to both defendants.


       IT IS ORDERED:
       1.     Chisholm's motion to continue trial (Filing No. 32) is granted.
       2.     Trial of this matter as to both defendants is re-scheduled for March 12, 2012,
before Judge Joseph F. Bataillon and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between January 26, 2012, and March 12, 2012, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendants’ counsel require additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 26th day of January, 2012.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
